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                            IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

N.R., a disabled minor by and through the            )
Guardian of her Estate, FIRST MIDWEST                )
BANK, and ASHANTE WILLIS,                            )
Individually, and JAMES RICE,                        )
Individually,                                        )       Civil No. 3:21-cv-342-MAB
                                                     )
                        Plaintiffs,                  )
                                                     )
vs.                                                  )
                                                     )
UNITED STATES OF AMERICA and                         )
ALTON MEMORIAL HOSPITAL,                             )
                                                     )
                        Defendants.                  )

DEFENDANT UNITED STATES OF AMERICA’S RESPONSES TO PLAINTIFF’S FIRST
  REQUEST FOR ADMISSIONS TO DEFENDANT UNITED STATES OF AMERICA

           Defendant United States of America, by and through its attorneys, Steven D. Weinhoeft,

United States Attorney for the Southern District of Illinois, and Assistant United States Attorney Ray

M. Syrcle, for its Responses and Objections to Plaintiff’s First Request for Admissions to Defendant

USA, states as follows:

                                      REQUESTS FOR ADMISSION

           REQUEST NO. 1:         Please admit that you were properly served Plaintiffs’ Complaint.

RESPONSE:

Admit.

           REQUEST NO. 2:         Please admit that the following individuals were agents and/or employees of

Defendant USA in August of 2018:

      1.   Baker, Rachel R.N.
      2.   Bradshaw, Holly R.N.
      3.   Hauch, Amy NP
      4.   Hazelwood, Dana R.N.
      5.   Hill, Laura Pulaski
      6.   Kolade, Olamide M.D.
      7.   Lahey, Diane Marie R.N.
      8.   Ledbetter, Hilda R.N.
                                                         1
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   9.    McCullough, Timothy M.D.
   10.   Saboff, Sheryl Ann R.N.
   11.   Schmidt, Richard Urban Jr.
   12.   Short, Amy Katheryn R.N.

RESPONSE:

Defendant admits that in August 2018 Southern Illinois Healthcare Foundation (SIHF) was a
deemed entity of the Public Health Service and that Dr. Olamide Kolade, in his capacity as an
employee of SIHF, was a deemed employee of the Public Health Service, pursuant to the
Federally Support Health Centers Assistance Act of 1992 (“FSHCAA”), 42 U.S.C. § 233.
Defendant denies the remainder.

                                         Respectfully submitted,

                                         STEVEN D. WEINHOEFT
                                         United States Attorney

                                         s/ Ray M. Syrcle
                                         NATHAN E. WYATT
                                         RAY M. SYRCLE
                                         Assistant United States Attorney
                                         United States Attorney’s Office
                                         Nine Executive Drive
                                         Fairview Heights, Illinois 62208-1344
                                         Phone: (618) 628-3700
                                         Fax:      (618) 622-3810
                                         E-mail: Nathan.Wyatt@usdoj.gov
                                                   Ray.Syrcle@usdoj.gov
                                         Attorneys for the United States




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                                CERTIFICATE OF SERVICE

              The undersigned hereby certifies that on August 23, 2021, he served a copy of the

attached

DEFENDANT UNITED STATES OF AMERICA’S RESPONSES TO PLAINTIFF’S FIRST
  REQUEST FOR ADMISSIONS TO DEFENDANT UNITED STATES OF AMERICA

by electronically providing a copy to the persons hereinafter named, pursuant to the parties’

agreement that service of this document via email and by filing with the Court via CM-ECF.

       ADDRESS:      Jack Beam
                     Matthew M. Patterson
                     Ryan P. Timoney
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                                           /s Ray M. Syrcle
                                           Ray M. Syrcle




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